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 7
 8              IN THE UNITED STATES DISTRICT COURT FOR THE
 9                     EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,        )
                                      ) 2:06-cr-0101-MCE
12             Plaintiff,             )
                                      ) STIPULATION AND ORDER
13                                    ) CONTINUING STATUS CONFERENCE AND
          v.                          ) EXCLUDING TIME
14                                    )
     SONNY RUDY MARTINEZ, et al.,     )
15                                    )
               Defendants.            ) Hon. Morrison C. England, Jr.
16                                    )
17
18        The parties request that the status conference currently set
19   for October 24, 2006, be continued to November 7, 2006, and
20   stipulate that the time beginning October 24, 2006, and extending
21   through November 7, 2006, should be excluded from the calculation
22   of time under the Speedy Trial Act.      The parties submit that the
23   ends of justice are served by the Court excluding such time, so
24   that counsel for each defendant may have reasonable time
25   necessary for effective preparation, taking into account the
26   exercise of due diligence.     18 U.S.C. § 3161(h)(8)(B)(iv).         In
27   particular, counsel for all parties need more time to finalize
28   and prepare plea dispositions.     The parties stipulate and agree

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 1   that the interests of justice served by granting this continuance
 2   outweigh the best interests of the public and the defendants in a
 3   speedy trial.      18 U.S.C. § 3161(h)(8)(A).
 4
 5                                             Respectfully Submitted,
 6                                             McGREGOR W. SCOTT
                                               United States Attorney
 7
 8   Dated:    October 23, 2006            By:/s/ Michael M. Beckwith
                                              MICHAEL M. BECKWITH
 9                                            Assistant U.S. Attorney
10
11   Dated:    October 23, 2006            By:/s/ Matthew C. Bockmon
                                              MATTHEW C. BOCKMON
12                                            Attorney for defendant
                                              Sonny Rudy Martinez
13
14   Dated:    October 23, 2006            By:/s/ Christopher Hayndn-Myer
                                              CHRISTOPHER HAYDN-MYER
15                                            Attorney for defendant
                                              Jessica Mayoral
16
17   Dated:    October 23, 2006            By:/s/ Michael B. Bigelow
                                              MICHAEL B. BIGELOW
18                                            Attorney for defendant
                                              Joann Ramirez
19
20   Dated:    October 23, 2006            By:/s/ Michael D. Long
                                              MICHAEL D. LONG
21                                            Attorney for defendant
                                              Loretta Arrendondo
22
23   Dated:    October 23, 2006            By:/s/ Candace A. Fry
                                              CANDACE A. FRY
24                                            Attorney for defendant
                                              Kelaya Morton
25
26   Dated:    October 23, 2006            By:/s/ Lorie J. Teichert
                                              LORIE J. TEICHERT
27                                            Attorney for defendant
                                              Jaime Hernandez
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 1                                    ORDER
 2        The status conference in case number CR. S-06-0101 MCE,
 3   currently set for October 24, 2006, is continued to November 7,
 4   2006, and the time beginning October 24, 2006, and extending
 5   through November 7, 2006, is excluded from the calculation of
 6   time under the Speedy Trial Act.       The Court finds that interests
 7   of justice served by granting this continuance outweigh the best
 8   interests of the public and the defendants in a speedy trial.         18
 9   U.S.C. § 3161(h)(8)(A).
10
11   IT IS SO ORDERED.
12
13   Dated: October 25, 2006
14
15
16                                    _____________________________
                                      MORRISON C. ENGLAND, JR
17                                    UNITED STATES DISTRICT JUDGE
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